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14   Counsel for Individual and Representative Plaintiffs
     and the Proposed Class
15

16                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18
     Paul Tremblay, et al.,                                 Case No. 3:23-cv-03223-AMO
19
       Individual and Representative Plaintiffs,            STIPULATION REGARDING DEFENDANTS’
20                                                          DEADLINE TO RESPOND TO COMPLAINTS
             v.
21   OpenAI, Inc.; et al.,
22                                  Defendants.
23

24
     Sarah Silverman, et al.,                               Case No. 4:23-cv-03416-KAW AMO
25
       Individual and Representative Plaintiffs,            STIPULATION REGARDING DEFENDANTS’
26                                                          DEADLINE TO RESPOND TO COMPLAINTS
             v.
27
     OpenAI, Inc.; et al.,
28   Defendants.

                                                                         Case No. 3:23-cv-03223-AMO
                  STIPULATION REGARDING DEFENDANTS’ DEADLINE TO RESPOND TO COMPLAINTS
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 1          WHEREAS, on June 28, 2023, Plaintiffs Paul Tremblay and Mona Awad filed a Complaint

 2   (ECF No. 1) against Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI OpCo, L.L.C.; OpenAI GP,

 3   L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI Startup Fund

 4   Management, LLC1 in Tremblay, et al. v. OpenAI, Inc., et al., No. 3:23-cv-03223-AMO (N.D. Cal. June

 5   28, 2023) (the “Tremblay Action”);

 6          WHEREAS, on July 7, 2023, Plaintiffs Sarah Silverman, Christopher Golden, and Richard

 7   Kadrey2 filed a Complaint (ECF No. 1) against Defendants in Silverman, et al. v. OpenAI, Inc., et al.,

 8   No. 4:23-cv-03416-KAW (N.D. Cal. July 7, 2023);

 9          WHEREAS, on July 19, 2023, Plaintiffs filed an Administrative Motion to Consider Whether

10   Cases Should Be Related regarding the Tremblay Action and the Silverman Action (ECF No. 16)

11   (“Motion to Relate”);

12          WHEREAS, the Court has not yet ruled on Plaintiffs’ Motion to Relate;

13          WHEREAS, Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI OpCo, L.L.C.; OpenAI GP,

14   L.L.C.; and OpenAI Startup Fund Management, LLC in the Tremblay Action and the Silverman Action

15   have been served;

16          WHEREAS, Defendants OpenAI Startup Fund GP I, L.L.C. and OpenAI Startup Fund I, L.P.

17   have agreed to accept service in the Tremblay Action and the Silverman Action;

18          WHEREAS, the parties named as Defendants in the Tremblay Action and the Silverman Action

19   have not filed answers nor otherwise responded to the complaints in those actions;

20          WHEREAS, Civil Local Rule 6-1 permits the parties to “stipulate in writing, without a Court

21   order, to extend the time within which to answer or otherwise respond to the complaint” so long as

22   “the change will not alter the date of any event or any deadline already fixed by Court order”;

23          WHEREAS, Defendants’ response to the Complaint in the Tremblay Action is currently due

24   July 21, 2023;

25
     1
26     OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI OpCo, LLC; OpenAI Startup Fund GP I,
     L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI Startup Fund Management, LLC are collectively
27   referred as “Defendants.”
     2
28    Plaintiffs Paul Tremblay, Mona Awad, Sarah Silverman, Christopher Golden, and Richard Kadrey are
     collectively referred to as “Plaintiffs.”

                                               1           Case No. 3:23-cv-03223-AMO
              STIPULATION REGARDING DEFENDANTS’ DEADLINE TO RESPOND TO COMPLAINTS
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 1          WHEREAS, the parties have conferred and agreed to an extension of the deadline for

 2   Defendants to move or otherwise respond to the Complaint as well as Plaintiffs’ response and

 3   Defendants’ replies to any such motion;

 4          WHEREAS, an extension of the deadline to respond to the Complaint will not alter the date of

 5   any event or deadline already fixed by Court order; and

 6          WHEREAS, Defendants have agreed not to contend that discovery in this case should be

 7   stayed or otherwise delayed until the pleadings have been resolved, but Defendants do not waive, and

 8   expressly reserve, the right to interpose objections to particular discovery Plaintiffs may propound;

 9          WHEREAS, the parties have agreed to conduct a Rule 26(f ) conference at a mutually agreeable

10   date and time to occur no later than September 15, 2023;

11          WHEREAS, Defendants do not waive, and expressly reserve, all available defenses.

12   NOW THEREFORE, the parties, through their undersigned counsel, hereby stipulate and agree that,

13   subject to the approval of the Court:

14                  1.      Defendants agree not to contend that discovery in this case should be stayed or

15          otherwise delayed until the pleadings have been resolved, but Defendants do not waive, and

16          expressly reserve, the right to interpose objections to particular discovery Plaintiffs may

17          propound;

18                  2.      Plaintiffs and Defendants shall conduct a Rule 26(f ) conference at a mutually

19          agreeable date and time to occur no later than September 15, 2023;

20                  3.      Defendants’ deadline to respond to any operative Complaint in the Tremblay

21          Action and the Silverman Action is extended to August 28, 2023;

22                  4.      Plaintiffs’ oppositions to any motion(s) filed by Defendants in response to the

23          Complaint are due on September 27, 2023; and

24                   5.      Defendants’ replies to any such motions are due on October 11, 2023.

25                   6.     Anticipated Motion(s) Hearing set for December 7, 2023 at 2:00PM.

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                                              2            Case No. 3:23-cv-03223-AMO
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3
      Dated: July 28, 2023
 4                                           Honorable Araceli Martínez-Olguín
                                             United States Judge
 5

 6

 7
     Dated: July 21, 2023                    By:          /s/ Joseph R. Saveri
 8                                                         Joseph R. Saveri
 9
                                             Joseph R. Saveri (State Bar No. 130064)
10
                                             Cadio Zirpoli (State Bar No. 179108)
11                                           Christopher K.L. Young (State Bar No. 318371)
                                             Kathleen J. McMahon (State Bar No. 340007)
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                                             Counsel for Individual and Representative
24                                           Plaintiffs and the Proposed Class

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                                              3           Case No. 3:23-cv-03223-AMO
             STIPULATION REGARDING DEFENDANTS’ DEADLINE TO RESPOND TO COMPLAINTS
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 1   Dated: July 21, 2023
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 2                                                        Joseph C. Gratz

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 8                                           Counsel for OpenAI, Inc.; OpenAI, L.P.; OpenAI GP,
                                             L.L.C.; OpenAI OpCo, LLC; OpenAI Startup Fund GP I,
 9                                           L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI
10                                           Startup Fund Management, LLC

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                                             4            Case No. 3:23-cv-03223-AMO
             STIPULATION REGARDING DEFENDANTS’ DEADLINE TO RESPOND TO COMPLAINTS
